













Opinion issued July 21, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00089-CV
____________

IN THE MATTER OF V.M., Appellant

V.

STATE OF TEXAS, Appellee




On Appeal from the 314th District Court
Harris County, Texas
Trial Court Cause No.2004-07786J




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Valentin Martinez has filed a motion to dismiss his appeal.  More
than 10 days have elapsed, and no objection has been filed.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, , and .


